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AD 98 (Rev. 12/11- EDCA [Fresno 11/13]) Appearance and Compliance Bond


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                  Eastern District of California
UNITED STATES OF AMERICA,
                                                                          )
                                  v_                                      )
                                                                          )
                                                                                  Case No.
                                                                          )
                                                                          )


                                            APPEARANCE AND COMPLIANCE BOND

    \\ ~                          .                          Defendant's Agreement
I,   m\~ 1Y\alli~                                     mmmm      (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
           ( R! ) to appear for court proceedings;
           ( ~) if convicted, to surrender to serve a sentence that the court may impose; or
           ( ~ ) to comply with all conditions set forth in any Order Setting Conditions of Release for me.

                                                                 Type of Bond
( ~) (1) This is a personal recognizance bond.

( 0 ) (2) This is an unsecured bond of $
                                                       ----------------------- , with net worth of: $
( 0 ) (3) This is a secured bond of $              ______________ , secured by:

        ( 0) (a) $ _ _ _ _ _ _ _ _ , in cash deposited with the court.

        ( D) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                  (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                  ownership and value):



                         bond is secured by real property, UV,.U"'""''' to protect the secured interest may be filed of record.

        ( [J) (c) a bail bond with a sol vent surety (attach a copy ofthe bail bond. or describe it and identifY the surety):




                                                    Forfeiture or Release of the Bond

Forfeiture ofthe Bond This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
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     Release ofthe Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
     security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
     serve a sentence.

                                                                      Declarations

     Ownership ofthe PropertylNet Worth. I, the defendant                 and each surety - declare under penalty of perjury that:
              (1)       all owners of the property securing this appearance bond are included on the bond;
              (2)       the property is not subject to claims, except as described above; and
              (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                        or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

     Acceptance. I, the defendant and each surety - have read this appearance bond and have either read all the conditions
     of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.

     I, the defendant - and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)



                                                                                           '< ,     Defendant's signature




                     Surety/property owner - printed name                                 Surety/property owner - signature and date




                     Surety/property owner - printed name                                 Surety/property owner - signature and date




                     Surety/property owner - printed name                                 Surety/property owner - signature and date




     Date:     I1/J s)rt



                                                                                      STANLEY A BOONE U S. Maal8trotf~ JUdge
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